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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

LAREDO DIVISION
UNITED STATES OF AMERICA §
v. ; CRIMINAL NO. 5:22-CR-226
ROBERTO ADAMS :
STIPULATION OF FACT

 

The United States of America, by and through Jennifer B. Lowery, United States Attorney
for the Southern District of Texas and Heather Winter, Assistant United States Attorney, and the
defendant, ROBERTO ADAMS, and the defendant’s counsel, hereby stipulate as follows:

I.

If this case proceeded to trial, the United States of America would prove each element of
the offense beyond a reasonable doubt. The following facts, among others, would be offered to
establish the Defendant’s guilt:

The United States Department of Agriculture Office of the Inspector General (USDA-OIG)
and Federal Bureau of Investigation (FBI) conducted a joint public corruption investigation into
ROBERTO ADAMS (“ADAMS”). ADAMS retired from USDA on December 17, 2021, after 10
years of service as a Lead Animal Health Technician, While employed with USDA, his duties
included the examination of all cattle entering the United States through the Laredo Port of Entry.
If a live tick is found on a cow/bull, the entire load must be quarantined for a 7-14-day period
before being able to be presented again. If any other illness is found on the cow/bull, only that
animal is denied entry to the United States; the rest may enter. ADAMS misused his official

position with USDA and accepted bribes to allow tick infested cattle to enter the United States.
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Specifically, on January 8, 2021, the USDA-OIG received an anonymous complaint on its
hotline alleging that ADAMS was allowing tick infested cattle to enter the United States without
properly inspecting them. The anonymous complainant believed, but did not provide proof, that
ADAMS was doing this on behalf of Mexican cattle brokers in return for financial, or some other
form of compensation.

On March 16, 2021, an allegation was also made by a cattle broker at a USDA, Animal,
Plant, Health Inspection Services’ stakeholders engagement meeting that a Laredo-based USDA
Animal Health Technician named “ROBERTO” was accepting $200 bribes to allow cattle with
live dry ticks into the United States.

On March 23, 2021, this cattle broker was interviewed by investigators. He told
investigators that Mexican cattle brokers have been paying bribes to ADAMS on a regular basis.
The cattle broker identified the Mexican cattle broker who had paid bribes to ADAMS and agreed
to make a recorded call to the Mexican cattle broker to question him about ADAMS. A recorded
phone call was made on November 29, 2021, wherein the Mexican cattle broker described
ADAMS and the bribery scheme.

In the summer of 2021, investigators recruited a Confidential Human Source (CHS-1) with
regular and direct access to ADAMS. CHS-1 informed agents that in the past 2-3 years, the number
of ticks found by ADAMS had greatly decreased. Further, in addition to his personal and
government issued cell phones, ADAMS began using a third cell phone in and around 2020. On
this cellular phone, ADAMS only spoke in Spanish. On multiple occasions in August and
September 2021, ADAMS would make and receive calls on his third cell phone any time any load

of cattle was denied entry into the U.S.
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On November 19, 2021, agents executed a federal search warrant issued in Laredo, Texas
to seize ADAM’s third cell phone and extract its contents. ADAMS was also interviewed in a
non-custodial setting.

During ADAMS’s interview, he admitted to receiving bribes from Mexican cattle
companies for allowing cattle to illegally enter the United States. ADAMS admitted he was
voluntarily accepting bribe money to allow cattle to enter the United States through the use of his
official position as a USDA employee. ADAMS began accepting bribe money and accepted bribes
from Mexican cattle brokers for approximately 14 months. This arrangement consisted of
accepting bribe money in exchange for allowing cattle into the United States. In exchange for
money, ADAMS allowed cattle with ring worms, wet castration, cows that were coughing and had
mucus to enter the United States. These cattle would have otherwise been denied entry to the
United States. ADAMS would allow cattle with dry ticks into the country, but not cattle with live
ticks.

A review and translation of WhatsApp messages on ADAMS’s phone revealed messages
sent from apparent cattle brokers informing ADAMS when their cattle would be coming through
the Port of Entry. ADAMS assured them their cattle would get through. ADAMS also discussed
receiving payments via text message. Multiple messages included ADAMS sending his banking
information for payment.

USDA Animal Health Technicians are not allowed to accept gifts or bribes as part of their
official duties. Additionally, there is no reason related to official business for Mexican cattle export
entities to wire money directly to an Animal Health Technician’s personal bank account. The

parties agree that ADAMS received between $40,000 and $95,000 in wire transfers to his personal
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bank account from cattle brokers for allowing cattle into the U.S. without proper quarantine or
inspection.
I.

Defendant, ROBERTO ADAMS, hereby confesses and judicially admits that from in or
around March 2019 to in and around November 2021, as a public official, he did directly and
indirectly, corruptly demand, seek, receive, accept and agree to receive and accept personally a
thing of value, namely United States Currency, as influence for the performance of an official act,
and in return for and with the intent of being induced to act and omit to do an act in violation of

his official duty, in violation of Title 18, United States Code, Sections 201(b)(2)(A) and (C).

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ROBERTO ADAMS
Defendant

 

APPROVED:

JENNIFER B. LOWERY
UNITED STATES ATTORNEY

By: Ls | ilp Drbfvco
Heather Winter Philip Del Rio
Assistant United States Attorney Attorney for Defendant

 
